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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                    M iam iDivision

                              CaseNum ber:16-21575-CIV-M OREN O

  ALEXANDRE DACCACHE,on behalfof
  himselfand a11otherssimilarly situated,

                Plaintiffs,
 VS.

 M YM OND JAM ES FINANCIAL, INC.d/b/a
 RAYM OND JAM ES;RAYM OND JAM ES &
 ASSOCIATES,INC.;ARIEL QUIROS;
 W ILLIAM STEN GER;and JOEL
 BURSTEIN,

               Defendants.
                                                       /

             ORDER CLO SING CASE FO R STATISTICAL PURPOSES AND
                  PLACING M ATTER IN CIW L SUSPENSE FILE

        THIS CAU SE cam ebefore the Courtupon review ofthe M otion to TransferThisCaseto

 theDistrictofVermont(D.E.41),filed on June 15.2016,thatispending before the United
 StatesJudicialPanelon M ultidistrictLitigation.

        ln lightoftheM otion to Transfer,theCourtfindsitadvisable to STAY thiscaseuntilthe

 Panel on M ultidistrict Litigation rules on whether this case should be transferred to another

 court.Accordingly,itis

       ADJUDGED that:

               The Clerk ofthis Courtshallm ark this cause asC LO SED forstatisticalpurposes

       and place the m atterin a civilsuspense file.

               The Courtshallretain jurisdiction and the case shallbe restored to the active
       docketupon motion ofaparty ifcircumstanceschange so thatthisaction may proceed to
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        finaldisposition.

        111.   A11pending motions are DENIED AS M OOT whh leave to refile ifthiscase is

        restored to the active docket.

        IV. Thisordershallnotprejudicetherightsofthepartiestothislitigation.
        V.     Plaintiffs SHALL notify the Courtby Septem ber 22. 2016, and every three

        monthsthereafterofthe currentstatusoftheproceedingsand when thisaction isready to

       proceed.

       DONE AND ORDERED in Cham bersatM iami,Florida,this                           ofJtme 2016.

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                                         U N ITED STA TES D ISTRICT JUD G E

 Copies furnished to:

 CounselofR ecord
